 

CAPEZZA HILL, LLP

ATTORNEYS AT LAW Benjamin W. Hill, Esq.

 

January 3, 2021
Hon. Mae A. D’ Agostino
U.S. District Judge
Northern District of New York
James T. Foley Courthouse
445 Broadway, 1* Floor
Albany, NY 12207

Re: United States v. Haviaropoulos (16-cr-73)
Dear Judge D’ Agostino:

Please let this letter serve as a request on behalf of Defendant that sentencing proceedings
scheduled for January 26, 2021 be adjourned for ninety (90) days along with related deadlines.

    

 

Please do not hesitate to contact me should you have any questions or concerns.

Respectfully submitted,

CAPEZZA HILL, LLP

 

cc: Daniel Hanlon, Esq. (Via ECF)

Partner

 

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